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                         EXHIBIT 1
                Case 3:23-cv-01353-WHO
  APPLE OVERTIME LAWSUIT                          Document 398-1        Filed 03/14/25      Page 2 of 6
  C/O ATTICUS ADMINISTRATION
  P.O. BOX 64053
  SAINT PAUL, MN 55164




  <<barcode text>>




  Claimant ID: <<Claimant ID>> <<SEQ ID>>
  <<FIRST NAME>> <<LAST NAME>>
  <<ADDRESS>> <<ADD ADDRESS 2>>
  <<CITY>> <<STATE>> << ZIP>>
  <<COUNTRY>>


                                        UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF CALIFORNIA
                                        NOTICE OF OVERTIME PAY LAWSUIT


                        A court authorized this notice. This is not a solicitation from a lawyer.

TO:      California Class Members:

         All current and former California employees who Apple, Inc. classified as non-exempt/overtime
         eligible who received restricted stock units that vested on or after June 14, 2019, and recorded
         more than forty hours of work in a workweek or more than eight hours of work in a workday after
         receiving an RSU but before the RSU vested. This excludes those who signed an arbitration
         agreement and excludes those who signed a separation, severance, or settlement agreement that
         released their claims during the entire relevant time period.

         New York Class Members:

         All current and former New York employees who Apple, Inc. classified as non-exempt/overtime
         eligible who received restricted stock units that vested on or after August 11, 2017, and recorded
         more than forty hours of work in a workweek after receiving an RSU but before the RSU vested.
         This excludes those who signed an arbitration agreement and excludes those who signed a
         separation, severance, or settlement agreement that released their claims during the entire relevant
         time period.
RE:      Lawsuit involving allegations that Apple did not pay accurate overtime wages by not including the value of
         vested RSUs in the overtime pay rate.

The Court has allowed this lawsuit to be a class action on behalf of the classes defined above. The Court has not
decided whether Apple has done anything wrong. There is no money available now, and no guarantee there will be.
However, your legal rights are affected, and you have a choice to make now.
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                         YOUR LEGAL RIGHTS AND OPTIONS IN THIS LAWSUIT
                                     Stay in this lawsuit. Await the outcome. Give up certain rights.
                                     By doing nothing, you keep the possibility of getting money or benefits that
                                     may come from a trial or settlement. But you give up any rights to sue Apple
 DO NOTHING                          separately about the same legal claims in this lawsuit.
                                     Get out of the Classes. Get no benefits from the Class claims. Keep
                                     rights.
                                     If you ask to be excluded and money or benefits are later awarded to the
                                     Class(es), you won’t share in those. But you keep any rights under
                                     applicable law to sue Apple separately about the same legal claims in this
 ASK TO BE EXCLUDED                  lawsuit.

       Your options are explained in this notice. To ask to be excluded, you must act before <<90 days from
        notice>>.
       Lawyers must prove the claims at a trial set to start May 26, 2026. If money or benefits are obtained
        from Apple, you will be notified.
       Any questions? Read on and visit www.AppleOvertimeLawsuit.com.

                                              BASIC INFORMATION
    1. Why did I get this notice?
Apple’s records show that you currently work, or previously worked, for Apple, and are a member of the
Class(es). This notice explains that the Court has allowed, or “certified,” a class action that may affect you.
You have legal rights and options that you may exercise before the Court holds a trial. The trial is to decide
whether the claims made against Apple, on behalf of the Class(es), are correct. Judge William H. Orrick of the
United States District Court for the Northern District of California is overseeing this class action. The lawsuit
is known as Costa et al. v. Apple Inc., 3:23-CV-01353-WHO.

    2. What is this lawsuit about?
This lawsuit is about whether Apple failed to pay correct overtime wages by not including the value of vested
restricted stock units in the employees’ overtime pay rate.

    3. What is a class action and who is involved?
In a class action, one or more people called “Class Representatives” (in this case Amanda Hoffman and Olivia
McIlravy-Ackert) sue on behalf of other people who have similar claims. The people together are a “Class” or
“Class Members.” The people who sued—and all the class members like them—are called the Plaintiffs. The
company they sued (in this case Apple Inc.) is called the Defendant. One court resolves the issues for everyone
in the Class—except for those people who choose to exclude themselves from the Class.

    4. Why is this lawsuit a class action?
The Court decided that this lawsuit can be a class action and move towards a trial because it meets the
requirements of Federal Rule of Civil Procedure 23, which governs class actions in federal courts. Specifically,
the Court found that:
 There are thousands of people who are members of the Classes;
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     There are legal questions and facts that are common to the Classes;
     Ms. Hoffman and Ms. McIlravy-Ackert’s claims are typical of the claims of the rest of their respective
      Class;
     Ms. Hoffman and Ms. McIlravy-Ackert, and the lawyers representing the Class will fairly and adequately
      represent the Class’s interests; and
     This class action will be more efficient than having many individual lawsuits.

Apple disagrees that this lawsuit should proceed as a class action. More information about why this lawsuit is
a class action is available at www.AppleOvertimeLawsuit.com.

                                      THE CLAIMS IN THE LAWSUIT
    5. What does the lawsuit complain about?
The Plaintiffs say that Apple did not pay them at the correct overtime rate by failing to include the value of
vested restricted stock units. You can read the Plaintiffs’ claims at www.AppleOvertimeLawsuit.com.

    6. What is Apple’s position?
Apple denies that it did anything wrong and says that vested restricted stock units are properly excluded from
the overtime pay rate under the law. Visit www.AppleOvertimeLawsuit.com for more information about
Apple’s defenses.

    7. Has the Court decided who is right?
The Court hasn’t decided whether Apple or the Plaintiffs are correct. By establishing the Class and issuing this
notice, the Court is not suggesting that the Plaintiffs will win or lose. The Plaintiffs must prove their claims at
trial and Apple must prove its defenses.

    8. What are the Plaintiffs asking for?
The Plaintiffs are asking for unpaid overtime wages and any liquidated (double) damages, penalties, and other
relief permitted by law.

    9. Is there any money available now?
No money or benefits are available now because the Court has not yet decided whether Apple did anything
wrong, and the case has not otherwise been resolved. There is no guarantee that money or benefits ever will
be obtained. If money or benefits are obtained for the Class(es), you will be notified.

                                             WHO IS IN THE CLASS
You need to decide whether you are affected by this lawsuit.

  10. Am I part of this Class?
Judge Orrick decided that the people who are within the California and/or New York Classes defined at the
beginning of this notice are Class Members. You received this notice because Apple’s records reflect that you
are included in one or both classes.

                                       YOUR RIGHTS AND OPTIONS
You must decide whether to stay in the Class or ask to be excluded, and you must decide this now.




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  11. What happens if I do nothing at all?
You don’t have to do anything now if you want to keep the possibility of getting money or benefits from this
lawsuit. By doing nothing you are staying in the Class. If you stay in and the Plaintiffs obtain money or benefits,
either as a result of the trial or a settlement, you will be notified about how to apply for a share (or how to ask
to be excluded from any settlement). Keep in mind that if you do nothing now, regardless of whether the
Plaintiffs win or lose the trial, you will not be able to sue, or continue to sue Apple—as part of any other
lawsuit—about the same legal claims that are the subject of this lawsuit. You will also be legally bound by all
the Orders the Court issues and judgments the Court makes in this class action.

  12. What happens if I ask to be excluded?
If you exclude yourself from the Class—which also means to remove yourself from the Class, and is sometimes
called “opting-out” of the Class— you won’t get any money or benefits from the Class claims even if the
Plaintiffs obtain them as a result of the trial or from any settlement (that may or may not be reached) between
Apple and the Plaintiffs. However, you may then be able to sue or continue to sue Apple. If you exclude
yourself, you will not be legally bound by the Court’s judgments as to the Class claims.

If you start your own lawsuit against Apple after you exclude yourself, you’ll have to hire and pay your own
lawyer for that lawsuit, and you’ll have to prove your claims. If you do exclude yourself so you can start your
own lawsuit against Apple, you should talk to your own lawyer, because your claims may be subject to a statute
of limitations.

If you already have your own overtime pay rate lawsuit against Apple related to vested restricted stock units
(separate from this one) and want to continue with it, you need to ask to be excluded from the Class.

  13. How do I ask the Court to exclude me from the Class?
To ask to be excluded, you must send an “Exclusion Request” in the form of a letter sent by mail or a message
by email stating that you want to be excluded from the Apple overtime lawsuit. Be sure to include your name,
address, and Claimant ID located near your name and address on this notice. You must mail (postmark) or
email your Exclusion Request by <<90 days from notice>>, to Apple Overtime Lawsuit, P.O. Box 64053, St.
Paul, MN 55164 or AppleOvertimeLawsuit@atticusadmin.com.

  14. Do I have a lawyer in this case?
The Court decided that the law firms of Nichols Kaster, PLLP of Minneapolis, Minnesota and San Francisco,
California, and Shavitz Law Group of Boca Raton, Florida, and New York, New York are qualified to represent
you and all Class Members. Together the law firms are called “Class Counsel.” They are experienced in
handling similar cases. More information about these law firms, their practices, and their lawyers’ experience
is available at www.nka.com and www.shavitzlaw.com.

  15. Should I get my own lawyer?

You do not need to hire your own lawyer because Class Counsel is working on your behalf. But if you want
your own lawyer, you will have to pay that lawyer. For example, you can ask them to appear in Court for you
if you want someone other than Class Counsel to speak for you.

  16. How will the lawyers be paid?



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If Class Counsel gets money or benefits for the Class, they may ask the Court for fees and expenses. You
won’t have to pay these fees and expenses. If the Court grants Class Counsel’s request, the fees and expenses
would either be deducted from any money obtained for the Class or paid separately by Apple.
                                                  THE TRIAL
The Court has scheduled a trial to decide who is right in this case.

  17. How and when will the Court decide who is right?
As long as the case isn’t resolved by a settlement or otherwise, Class Counsel will have to prove the Plaintiffs’
claims at a trial. The trial is set to start on May 26, 2026, in the United States District Court for the Northern
District of California, 450 Golden Gate Avenue, San Francisco, CA 94102. During the trial, a Jury or the Judge
will hear all the evidence to help them reach a decision about whether the Plaintiffs or Defendant are right
about the claims in the lawsuit. There is no guarantee that the Plaintiffs will win, or that they will get money
for the Class.

  18. Do I have to attend the trial?
You do not need to attend the trial unless you are required to appear and give testimony as a witness. Class
Counsel will present the case for the Plaintiffs, and Apple will present its defenses. You or your own lawyer
are welcome to come at your own expense.

  19. Will I get money after the trial?
If the Plaintiffs obtain money or benefits as a result of the trial or a settlement, you will be notified. We do not
know when this will occur, and there may be no recovery of money or benefits.

                                      GETTING MORE INFORMATION
  20. Are more details available?
Visit www.AppleOvertimeLawsuit.com where you will find more information about the lawsuit and a copy of
this notice. You may also speak with one of the lawyers by calling (877) 448-0492.

Date: << Month, Day, Year>>




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